      Case 8-18-70695-ast         Doc 17     Filed 08/06/18     Entered 08/07/18 08:21:17




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
IN RE:
                                                            CHAPTER 7
JOANN CULELLO
A/K/A LJ GREGORY,                                           CASE NO. 18-70695-ast
                                    DEBTOR.


                             ORDER GRANTING RELIEF FROM
                                THE AUTOMATIC STAY

         ON May 22, 2018, the Motion (the “Motion”) of Nationstar Mortgage LLC d/b/a Mr.

Cooper, (“Movant”) dated April 17, 2018, came before the Court, for relief from the Automatic

Stay with respect to the Collateral known as 14 Lexington Avenue, West Babylon, New York

11704. This Court, having considered the evidence presented and the argument of the parties,

and with good cause appearing therefore, it is hereby

         ORDERED that the Automatic Stay, in effect pursuant to 11 U.S.C. § 362(a), is hereby

terminated pursuant to 11 U.S.C. § 362(d) as to Movant, its agents, assigns or successors in

interest, so that Movant, its agents, assigns or successors in interest, may take any and all actions

under applicable state law to exercise its remedies against the Premises known as 14 Lexington

Avenue, West Babylon, New York 11704, and it is further

         ORDERED that The Chapter 7 Trustee shall be served with a copy of the Referee’s

Report of Sale within (30) days of the report [if applicable], and shall be noticed with any surplus

monies realized from the sale of the Collateral, and it is further
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     ORDERED, that all other relief sought in the Motion is denied




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Dated: August 6, 2018                                             Alan S. Trust
       Central Islip, New York                           United States Bankruptcy Judge
